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Exhibit F
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Roger Stone jury foreperson's anti- Trump social media
posts surface after she defends DOJ prosecutors

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Tucker Carlson on Roger Stone's prison sentencing

ts Roger Stone's sentencing a political hit?

Former Memphis City Schools Board President J revealed Wednesday that she was the
foreperson of the jury that convicted former Trump adviser Roger Stone on obstruction charges last
year — and soon afterward, her history of Democratic activism and a string of her anti-Trump, left-
wing social media posts came to light.

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MB even posted specifically about the Stone case before she was selected to sit on the jury, as she
retweeted an argument mocking those who considered Stone's dramatic arrest in a predawn raid by
a federal tactical team to be excessive force. She also suggested President Trump and his
supporters are racist and praised the investigation conducted by Special Counsel Robert Mueller,
which ultimately led to Stone's prosecution.

Meanwhile, it emerged that U.S. District Judge Amy Berman Jackson had denied a defense request
to strike a potential juror who was Obama-era press official with admitted anti-Trump views -- and
whose husband worked at the same Justice Department division that handled the probe leading to
Stone's arrest. And, another Stone juror, , donated to former Democratic presidential

candidate Beto O'Rourke and other progressive causes, federal election records reviewed by Fox
News show.

 

 

The revelations came as Trump has called the handling of Stone's prosecution "ridiculous" and a
demonstrably unfair "insult to our country." They raised the prospect that Stone's team could again

seek a new trial, especially if provided inaccurate responses under oath on her pretrial
questionnaires concerning social media activity.

 

The drama began when fi confirmed to CNN and other media organizations Wednesday that she
had written a Facebook post supporting the Justice Department prosecutors in the Stone case who
abruptly stepped down from their posts on Tuesday, saying she "can't keep quiet any longer." The
prosecutors apparently objected after senior DOJ officials overrode their recommendation to
Jackson that Stone face up to 9 years in prison.

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DOJ PROSECUTORS QUIT EN MASSE; TRUMP SAYS STONE CASE A MISCARRIAGE OF JUSTICE

"| want to stand up for Aaron Zelinsky, Adam Jed, Michael Marando, and Jonathan Kravis -- the
prosecutors on the Roger Stone trial," J wrote in the post. "It pains me to see the DOJ now

interfere with the hard work of the prosecutors. They acted with the utmost intelligence, integrity,
and respect for our system of justice."

 

FILE - In this Nov. 12, 2019 file photo, Roger Stone, a longtime Republican provocateur and former confidant of President Donald
Trump, waits in line at the federal court in Washington. A Justice Department official tells the AP that the agency is backing away

from its sentencing recommendation of between seven to nine years in prison for Trump confidant Roger Stone. (AP Photo/Manuel
Balce Ceneta)

Wedded: "As foreperson [of the jury], | made sure we went through every element, of every

charge, matching the evidence presented in the case that led us to return a conviction of guilty on all
7 counts."

Independent journalist Mike Cernovich, not CNN, then first reported that a slew of jj other
publicly available Twitter and Facebook posts readily suggested a strong political bias. Some of
GBs posts were written as Stone's trial was in progress.

GB who unsuccessfully ran for Congress as a Democrat in 2012, quoted someone in an August
2017 tweet referring to Trump as a member of the KKK.

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In January 2019, she retweeted a post by pundit Bakari Sellers, who noted that "Roger Stone has
y'all talking about reviewing use of force guidelines," before suggesting that racism was the reason
for all the attention Stone's arrest had received from conservatives.

In August 2019, fiiicalled all Trump supporters "racist."

"Gotta love it!" Jjwrote on Jan. 13,2018, in response to a news report that a vulgarity had been
projected onto the Trump International Hotel in Washington, D.C.

A week later, on Jan. 21, 2018, she shared an opinion piece entitled, "What's so extremely, uniquely
wrong about Trump's presidency."

On March 24, 2019, fshared a Facebook post saying that Republicans who complained about
Mueller's probe were deliberately "ignoring the numerous indictments, guilty pleas, and convictions
of people in 45's inner-circle,’ referring to Trump.

Most of fs posts were from before she was selected to sit on the Stone jury late 2019. But, on
Nov. 15, 2019 -- the day she voted to convict Stone on seven counts of obstruction, witness

tampering and making false statements to Congress -- J tweeted two "heart" emojis, followed by
two pump-fist emojis.

(None of Stone's charges accused him of engaging in a criminal conspiracy with Russia or any other

actors concerning election interference; instead, his offenses related to his statements concerning
his contacts with WikiLeaks and others.)

GB's tweet linked to a Facebook post that has since been taken down from public view.

\f SJ have provided misleading answers on her jury form concerning her political or social media
activity, her views on Trump and the Russia probe, or other related matters, there could be grounds
for Stone's team to seek a new trial, legal experts told Fox News.

FLASHBACK: FORMER FBI DIRECTOR MCCABE ADMITS LYING TO INVESTIGATORS, STILL NO
CHARGES

GE cid not immediately respond to Fox News' request for comment. The Memphis Commercial

Appeal noted that she was a native of the city and had served a term as the president of its school
board.

GBs posts surfaced the same day that Jackson, who oversaw the Stone case, unsealed her
order from earlier this month denying Stone's request for a new trial.

Stone's team argued that an unnamed juror had misled the court concerning his or her exposure to
the media during the case, and also had some potential bias because of his or her work with the
IRS, which sometimes has interfaced with the DOJ on criminal matters.

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But, Jackson shot down the motion for a new trial, saying the juror's potential bias was not

demonstrated -- and even if it were, it wasn't significant enough to warrant the drastic step of calling
for a new trial.

Courts allow for a new trial, Jackson noted, when "a serious miscarriage of justice may have
occured." Bias is a permissible reason to remove a juror or call for a new trial only in "extreme
situations where the relationship between a prospective juror and some aspect of the litigation is

such that it is highly unlikely that the average person could remain impartial in his deliberations
under the circumstances."

READ JACKSON'S ORDER SHUTTING DOWN MOTION FOR NEW TRIAL

Jackson, who was appointed to the bench by President Barack Obama, also took a shot at Stone's
team for failing to uncover the information sooner.

"The defense could have easily conducted the same Internet search included in the instant motion
and could have raised concerns at that time,’ Jackson wrote.

Fox News reported earlier Tuesday that top brass at the DOJ were "shocked" that prosecutors
handling the Stone case had recommended Monday night that Jackson sentence the 67-year-old
Stone to between 87 and 108 months in prison. The prosecutors asserted in the Monday filing that
Stone's conduct post-indictment — including violating the judge's social media gag orders —.merited
a sentence much longer than the 15 to 21 months that the defense said was actually ad¥isa

under the federal sentencing guidelines. ]

 

[»:DOJ overrules suggested sentence for Roger Stone

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In a new, amended filing Tuesday afternoon, the DOJ told Jackson that the government "respectfully
submits that a sentence of incarceration far less than 87 to 108 months’ imprisonment would be

reasonable under the circumstances," but that the government "ultimately defers to the court as to
the specific sentence to be imposed.”

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Government officials wrote in the amended filing that while it was "technically" possible to argue
that Stone deserved the severe federal sentencing enhancement for threatening physical harm to a
witness, such a move would violate the spirit of the federal guidelines.

It would place Stone in a category of the guidelines that "typically applies in cases involving violent
offenses, such as armed robbery, not obstruction cases," the government argued, noting that Stone's

"advanced age, health, personal circumstances, and lack of criminal history" also counseled against
the harsh penalty.

Specifically, prosecutors said that although Stone allegedly had threatened witness Randy Credico's
therapy dog, Bianca -- saying he was "going to take that dog away from you’ -- it was important to
recognize that Credico, a New York radio host, has acknowledged that he "never in any way felt that
Stone himself posed a direct physical threat to me or my dog.”

The government continued, "If the court were not to apply the eight-level enhancement for
threatening a witness with physical injury, it would result in the defendant receiving an advisory

guidelines range of 37 to 46 months, which as explained below is more in line with the typical
sentences imposed in obstruction cases."

READ THE DOJ'S NEW FILING ; READ THE ORIGINAL FILING REQUESTING A LONGER SENTENCE

A senior DOJ official confirmed to Fox News that senior leadership officials there made the call to
reverse the initial sentencing recommendation, saying the filing on Monday evening was not only
extreme, but also substantially inconsistent with how the prosecutors had briefed DOJ leadership
they would proceed on the case. The "general communication" between the U.S. Attorney's, Office

and the main DOJ had led senior officials to expect a more moderate sentence, the officia! told Mex
News. }

[». rump: Justice Department corrected ‘horribleness' of Stone sentencing

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“It's surprising that would be the line in the sand -- an amended filing,’ a senior DOJ official told Fox

News, adding that the problem with the original sentencing recommendation was it told the judge
that the only way to serve justice was a lengthy sentence.

“We're backing off from, 'It has to be this," the DOJ source told Fox News. “The amended filing says

it's a serious crime, and prison time is appropriate; we're just saying it doesn't have to be 87 to 108
months."

Speaking to reporters on Tuesday, Trump said he stayed out of internal DOJ deliberations, but
strongly opposed their initial sentencing recommendation.

"| stay out of things to a degree that people wouldn't believe," Trump said. He added that the initial
recommendation was "ridiculous" and called it "an insult to our country."

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Later, Trump took a shot at Jackson, writing on Twitter: "Is this the Judge that put Paul Manafort in
SOLITARY CONFINEMENT, something that not even mobster Al Capone had to endure? How did she
treat Crooked Hillary Clinton? Just asking!"

Fox News' Jake Gibson and Alex Pfeiffer contributed to this report.

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